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 Fill in this information to identify your case and this filing:

  Debtor 1                 Tameia                       M.                           Frank
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                        Southern                    District of           Texas

  Case number             24-33165                                                                                                                                     ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Where is the property?
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1                                                       ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property
                City               State         ZIP Code
                                                                  ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                County
                                                                  ❑ Debtor 1 only
                                                                  ❑ Debtor 2 only                                                      ❑ Check if this is community property
                                                                  ❑ Debtor 1 and Debtor 2 only                                              (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                                      $0.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑



Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
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Debtor Frank, Tameia M.                                                                                                     Case number (if known) 24-33165



       3.1     Make:                 Mercedes-Benz               Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                          GLE 450           ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only
               Year:                           2017              ✔ At least one of the debtors and another
                                                                 ❑
                                                                                                                                      Current value of the
                                                                                                                                      entire property?
                                                                                                                                                                      Current value of the
                                                                                                                                                                      portion you own?

               Approximate mileage:            126000            ✔ Check if this is community property (see
                                                                 ❑                                                                                    unknown                    unknown
                                                                      instructions)
               Other information:

                Source of Value: KBB.com
                Private Party Sale Value
                Vehicle was totaled in an
                auto accident on 07/28/2024

       If you own or have more than one, describe here:

       3.2     Make:                           Ford              Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                      F-150 Truck           ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only
               Year:                           2014              ✔ At least one of the debtors and another
                                                                 ❑
                                                                                                                                      Current value of the
                                                                                                                                      entire property?
                                                                                                                                                                      Current value of the
                                                                                                                                                                      portion you own?

               Approximate mileage:            140000            ✔ Check if this is community property (see
                                                                 ❑                                                                                  $14,129.00                   $7,064.50
                                                                      instructions)
               Other information:

                Source of Value: KBB.com
                Private Party Sale Value


 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                                $7,064.50



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable                  Current value of the portion you own?
 interest in any of the following items?                    Do not deduct secured claims or exemptions.




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
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Debtor Frank, Tameia M.                                                                              Case number (if known) 24-33165



 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            King-sized Bed ($400), 2 Nightstand and Fireplace Place Chest ($200), Bunk
                                    Bed with Drawers ($300), Children's Desk ($100), Sectional Couch ($1,500),
                                    Leather Table ($800), Entertainment Center ($50), Dining Table and 4 Chairs
                                    ($300), 3 Leather Barstools ($200), 2 Office Desks ($300), 2 Desk Chairs ($50),                    $5,350.00
                                    Small Appliances ($100), Kitchen Cookware, Dishes, Silverware, and other
                                    Kitchen Items ($300), Children's Toys and Books ($500), and Misc. Household
                                    Goods, Furnishings, and Personal Items ($250)

 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            65" TV ($500), 60" TV ($400), Small TV ($100), Gaming Computer with Monitor
                                    and Accessories--Husband's ($2,500), Laptop and Monitor ($300), 2 iPads                            $5,750.00
                                    ($350), XBox, PlayStation, Nintendo Switch and Games ($700), iPhone 15
                                    ($400), Samsung Note ($300), and Misc. Electronics ($200)

 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                               $2,000.00
                                    Clothing and Misc. Wearing Apparel, Handbags




Official Form 106A/B                                                Schedule A/B: Property                                                page 3
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Debtor Frank, Tameia M.                                                                                                                           Case number (if known) 24-33165



 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                                                     $200.00
                                                   Misc. Jewelry


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                        $13,300.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................   Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                                                                               Navy Federal Credit Union Checking
                                             17.1. Checking account:                           Account Number: -1281                                                                                       $2,806.00

                                                                                               Navy Federal Credit Union Savings
                                             17.2. Savings account:                            Account Number: -3062                                                                                            $2.02

                                                                                               Capital One Checking and Savings (Non-filing
                                             17.3. Other financial account:                    spouse's account, Byron Jones)                                                                              $1,000.00

                                                                                               For Disclosure Purposes: Business Checking Account
                                                                                               for Sweet Treats with L and L LLC dba Sweets with
                                                                                               L&L Cotton Candy Balance: $4,000 (no equity for
                                             17.4. Other financial account:                    Tameia Frank's personal bankruptcy case)                                                                         $0.00




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                       page 4
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Debtor Frank, Tameia M.                                                                             Case number (if known) 24-33165



 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................    Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
           information about
           them....................   Name of entity:                                                       % of ownership:

                                       Sole member of Sweet Treats and L and L LLC                                      100.00%
                                       dba Sweets with L&L Cotton Candy                                                               unknown
                                       (See Stmt. Fin. Aff #18)


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:

                                      Pension plan:

                                      IRA:

                                      Retirement account:

                                      Keogh:

                                      Additional account:

                                      Additional account:




Official Form 106A/B                                                       Schedule A/B: Property                                       page 5
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Debtor Frank, Tameia M.                                                                                    Case number (if known) 24-33165



 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ❑ No
       ✔ Yes ......................
       ❑                                                   Institution name or individual:

                                      Security deposit on rental unit:   For disclosure purposes: No security deposit required
                                                                                                                                                $0.00
                                                                         due to special rate.


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ❑ No
       ✔ Yes. Give specific
       ❑                                                                                                                                     unknown
           information about them. ...
                                               Website: sweetslandl.com



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...




Official Form 106A/B                                                      Schedule A/B: Property                                               page 6
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Debtor Frank, Tameia M.                                                                                  Case number (if known) 24-33165



 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes. Give specific information about
       ❑
                them, including whether you
                                                         For disclosure purposes: Debtor received a                Federal:                                    $0.00
                already filed the returns and            tax refund for tax year 2023 prior to the
                the tax years. ...................       bankruptcy filing.                                        State:

                                                                                                                   Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                                   Alimony:

                                                                                                                   Maintenance:

                                                                                                                   Support:

                                                                                                                   Divorce settlement:

                                                                                                                   Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes. Name the insurance company
       ❑
                of each policy and list its value. ...    Company name:                            Beneficiary:                           Surrender or refund value:

                                                           Protective Life--(3) Term Life
                                                           Policies (no cash surrender
                                                           value)                                   Spouse and Children                                       $0.00


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........




Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 7
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Debtor Frank, Tameia M.                                                                                                                Case number (if known) 24-33165



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ❑ No
       ✔ Yes. Describe each claim. ..............
       ❑                                                          For Disclosure Purposes: Tameia Frank, her husband Byron Frank,
                                                                  and their two daughters were involved in an auto accident on
                                                                  07/28/2024. This is not a prepetition claim. Their 2017                                                                     unknown
                                                                  Mercedes-Benz GLE 450 is believed to be totaled. The Debtor and
                                                                  her family also have personal injury claims against the other
                                                                  driver.

 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                             $3,808.02



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........



Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 8
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Debtor Frank, Tameia M.                                                                                                                Case number (if known) 24-33165



 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                         Name of entity:                                                                                            % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   ❑ No
                   ❑ Yes. Describe. .........


 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.



Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 9
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Debtor Frank, Tameia M.                                                                                                                    Case number (if known) 24-33165



 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                        $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔       $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔   $0.00


 56.   Part 2: Total vehicles, line 5                                                                                $7,064.50

 57.   Part 3: Total personal and household items, line 15                                                         $13,300.00


Official Form 106A/B                                                                         Schedule A/B: Property                                                                     page 10
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Debtor Frank, Tameia M.                                                                                                    Case number (if known) 24-33165



 58.   Part 4: Total financial assets, line 36                                                          $3,808.02

 59.   Part 5: Total business-related property, line 45                                                        $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                               $0.00

 61.   Part 7: Total other property not listed, line 54                                 +                      $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                               $24,172.52          Copy personal property total         ➔   +   $24,172.52



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................           $24,172.52




Official Form 106A/B                                                               Schedule A/B: Property                                                                    page 11
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 Fill in this information to identify your case:

  Debtor 1            Tameia                  M.                    Frank
                      First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the:              Southern               District of      Texas

  Case number         24-33165
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
       ❑

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and        Current value of the       Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this         portion you own
       property                                                                Check only one box for each exemption.
                                                    Copy the value from
                                                    Schedule A/B

       Brief             2014 Ford F-150                     $7,064.50         ✔
                                                                               ❑            $0.00                            11 U.S.C. § 522(d)(2)
       description:      Truck
                                                                               ❑ 100% of fair market value, up to
                                                                                    any applicable statutory limit
       Line from
       Schedule A/B:        3.2                                                ✔
                                                                               ❑            $0.00                            11 U.S.C. § 522(d)(5)
                                                                               ❑ 100% of fair market value, up to
                                                                                    any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                                page 1 of 5
                       Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 13 of 65
Debtor 1            Tameia           M.                  Frank                          Case number (if known) 24-33165
                First Name          Middle Name          Last Name



   Part 2:      Additional Page

     Brief description of the property and   Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
     line on Schedule A/B that lists this    portion you own
     property                                                        Check only one box for each exemption.
                                             Copy the value from
                                             Schedule A/B

     Brief             King-sized Bed                $5,350.00
     description:      ($400), 2
                       Nightstand and
                       Fireplace Place
                       Chest ($200), Bunk
                       Bed with Drawers
                       ($300), Children's
                       Desk ($100),
                       Sectional Couch
                       ($1,500), Leather
                       Table ($800),
                       Entertainment
                       Center ($50),
                       Dining Table and 4
                       Chairs ($300), 3
                       Leather Barstools
                       ($200), 2 Office
                       Desks ($300), 2
                       Desk Chairs ($50),
                       Small Appliances
                       ($100), Kitchen
                       Cookware, Dishes,
                       Silverware, and
                       other Kitchen
                       Items ($300),
                       Children's Toys
                       and Books ($500),
                       and Misc.
                       Household Goods,
                       Furnishings, and
                       Personal Items
                       ($250)                                        ✔
                                                                     ❑        $5,350.00                        11 U.S.C. § 522(d)(3)
     Line from                                                       ❑ 100% of fair market value, up to
     Schedule A/B:           6                                           any applicable statutory limit




Official Form 106C                                Schedule C: The Property You Claim as Exempt                                      page 2 of 5
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Debtor 1            Tameia                M.                   Frank                         Case number (if known) 24-33165
                First Name                Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
     line on Schedule A/B that lists this         portion you own
     property                                                             Check only one box for each exemption.
                                                  Copy the value from
                                                  Schedule A/B

     Brief             65" TV ($500), 60"                  $5,750.00
     description:      TV ($400), Small TV
                       ($100), Gaming
                       Computer with
                       Monitor and
                       Accessories--
                       Husband's
                       ($2,500), Laptop
                       and Monitor ($300),
                       2 iPads ($350),
                       XBox, PlayStation,
                       Nintendo Switch
                       and Games ($700),
                       iPhone 15 ($400),
                       Samsung Note
                       ($300), and Misc.
                       Electronics ($200)                                 ✔
                                                                          ❑        $5,750.00                        11 U.S.C. § 522(d)(3)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:           7                                                any applicable statutory limit

     Brief             Clothing and Misc.                  $2,000.00
     description:      Wearing Apparel,
                       Handbags                                           ✔
                                                                          ❑        $2,000.00                        11 U.S.C. § 522(d)(3)
     Line from                                                            ❑   100% of fair market value, up to
     Schedule A/B:           11                                               any applicable statutory limit

     Brief             Misc. Jewelry                         $200.00
     description:                                                         ✔
                                                                          ❑         $200.00                         11 U.S.C. § 522(d)(4)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:           12                                               any applicable statutory limit

     Brief             Capital One                         $1,000.00
     description:      Checking and
                       Savings (Non-filing
                       spouse's account,
                       Byron Jones)
                       Other financial account                            ✔
                                                                          ❑        $1,000.00                        11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:           17                                               any applicable statutory limit

     Brief             Navy Federal                        $2,806.00
     description:      Credit Union
                       Checking
                       Checking account
                       Acct. No.: -1281                                   ✔
                                                                          ❑        $2,806.00                        11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:           17                                               any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                     page 3 of 5
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Debtor 1            Tameia                M.                   Frank                         Case number (if known) 24-33165
                First Name                Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
     line on Schedule A/B that lists this         portion you own
     property                                                             Check only one box for each exemption.
                                                  Copy the value from
                                                  Schedule A/B

     Brief             Navy Federal                            $2.02
     description:      Credit Union
                       Savings
                       Savings account
                       Acct. No.: -3062                                   ✔
                                                                          ❑          $2.02                          11 U.S.C. § 522(d)(5)
     Line from                                                            ❑   100% of fair market value, up to
     Schedule A/B:           17                                               any applicable statutory limit

     Brief             For Disclosure                          $0.00
     description:      Purposes:
                       Business Checking
                       Account for Sweet
                       Treats with L and L
                       LLC dba Sweets
                       with L&L Cotton
                       Candy Balance:
                       $4,000 (no equity
                       for Tameia Frank's
                       personal
                       bankruptcy case)
                       Other financial account                            ✔
                                                                          ❑        $4,000.00                        11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:           17                                               any applicable statutory limit

     Brief             Sole member of                      unknown
     description:      Sweet Treats and L
                       and L LLC dba
                       Sweets with L&L
                       Cotton Candy (See
                       Stmt. Fin. Aff #18)                                ✔
                                                                          ❑        unknown                          11 U.S.C. § 522(d)(5)
     Line from                                                            ❑   100% of fair market value, up to
     Schedule A/B:           19                                               any applicable statutory limit

     Brief             Website:                            unknown
                                                                          ✔
     description:      sweetslandl.com                                    ❑        unknown                          11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:           26                                               any applicable statutory limit

     Brief             Protective Life--(3)                    $0.00      ✔
                                                                          ❑          $0.00                          11 U.S.C. § 522(d)(7)
     description:      Term Life Policies
                                                                          ❑ 100% of fair market value, up to
                       (no cash surrender                                     any applicable statutory limit
                       value)
                                                                          ✔
                                                                          ❑          $0.00                          11 U.S.C. § 522(d)(11)(C)
                                                                          ❑ 100% of fair market value, up to
     Line from
     Schedule A/B:           31
                                                                              any applicable statutory limit

                                                                          ✔
                                                                          ❑          $0.00                          11 U.S.C. § 522(d)(10)(B)
                                                                          ❑ 100% of fair market value, up to
                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                     page 4 of 5
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Debtor 1            Tameia           M.                  Frank                          Case number (if known) 24-33165
                First Name          Middle Name          Last Name



   Part 2:      Additional Page

     Brief description of the property and   Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
     line on Schedule A/B that lists this    portion you own
     property                                                        Check only one box for each exemption.
                                             Copy the value from
                                             Schedule A/B

     Brief             For Disclosure                unknown
     description:      Purposes: Tameia
                       Frank, her
                       husband Byron
                       Frank, and their
                       two daughters
                       were involved in an
                       auto accident on
                       07/28/2024. This is
                       not a prepetition
                       claim. Their 2017
                       Mercedes-Benz
                       GLE 450 is
                       believed to be
                       totaled. The Debtor
                       and her family also
                                                                     ✔
                                                                     ❑        unknown                          11 U.S.C. § 522(d)(11)(D)
                       have personal
                       injury claims                                 ❑ 100% of fair market value, up to
                       against the other                                 any applicable statutory limit
                       driver.                                       ✔
                                                                     ❑        unknown                          11 U.S.C. § 522(d)(11)(E)
     Line from                                                       ❑   100% of fair market value, up to
     Schedule A/B:           33                                          any applicable statutory limit




Official Form 106C                                Schedule C: The Property You Claim as Exempt                                      page 5 of 5
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                          Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 18 of 65
 Fill in this information to identify your case:

     Debtor 1           Tameia                 M.                     Frank
                        First Name             Middle Name           Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:             Southern               District of        Texas

     Case number (if 24-33165
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                 If any

     2.1 JPMCB - AUTO FINANCE                          Describe the property that secures the claim:                   $15,828.00              $7,064.50       $8,763.50
         Creditor’s Name
                                                       2014 Ford F-150 Truck
          PO BOX 901003
         Number          Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
          FORT WORTH, TX 76101                         ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ✔ An agreement you made (such as mortgage or secured car loan)
                                                       ❑
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ✔ Check if this claim relates to a
         ❑
              community debt
         Date debt was incurred        1/10/2022       Last 4 digits of account number         4    1       0   4

         Add the dollar value of your entries in Column A on this page. Write that number here:                       $15,828.00




Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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Debtor 1         Tameia               M.                      Frank                               Case number (if known) 24-33165
                First Name            Middle Name             Last Name


                                                                                                         Column A               Column B                Column C
                Additional Page                                                                          Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                      that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                  Do not deduct the
                followed by 2.4, and so forth.                                                           value of collateral.
                                                                                                                                claim                   If any

 2.2 MERCEDES BENZ FINANCIA                     Describe the property that secures the claim:                  $50,943.00                    $0.00       $50,943.00
      Creditor’s Name
                                                 2017 Mercedes-Benz GLE 450
      36455 CORPORATE DR
                                                 Vehicle was totaled in an auto accident on 07/28/2024
      Number         Street
                                                As of the date you file, the claim is: Check all that apply.
                                                ❑ Contingent
      FARMINGTON HILLS, MI 48331
                                                ❑ Unliquidated
      City              State      ZIP Code
                                                ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                         ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ❑ Debtor 2 only                           ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only              ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ❑ Other (including a right to
           another                                  offset)
      ✔ Check if this claim relates to a
      ❑
           community debt
      Date debt was incurred     12/20/2021     Last 4 digits of account number          9    0      0   1

      Add the dollar value of your entries in Column A on this page. Write that number here:                   $50,943.00
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                               $66,771.00
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 2
                        Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 20 of 65
 Fill in this information to identify your case:

  Debtor 1            Tameia                  M.                       Frank
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                Southern                District of        Texas

  Case number        24-33165
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:       List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ❑ No. Go to Part 2.
        ✔ Yes.
        ❑
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
2.1 U.S. Small Business                               Last 4 digits of account number           9    1    0    8           $170,100.00             $0.00      $170,100.00
       Administration
                                                      When was the debt incurred?                   12/20/2021
       Priority Creditor’s Name
       409 3rd St Sw
       Number        Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                      ❑ Contingent
       Washington, DC 20416-0011
                                                      ❑ Unliquidated
                                                      ❑ Disputed
       City              State          ZIP Code

       Who incurred the debt? Check one.
       ✔ Debtor 1 only
                                                      Type of PRIORITY unsecured claim:
       ❑
       ❑ Debtor 2 only                                ❑ Domestic support obligations
                                                      ✔ Taxes and certain other debts you owe the government
                                                      ❑
       ❑ Debtor 1 and Debtor 2 only
       ❑ At least one of the debtors and              ❑ Claims for death or personal injury while you were intoxicated
          another                                     ❑ Other. Specify
       ❑ Check if this claim is for a
          community debt

       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes
       Remarks: SBA Business Loan
                for Tamei M. Frank dba Sweets with L and L



Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 15
                        Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 21 of 65
Debtor 1           Tameia                  M.                       Frank                             Case number (if known) 24-33165
                  First Name               Middle Name             Last Name


      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Blue Ridge Bank, NA                                                Last 4 digits of account number                                                      $20,300.00
        Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         17 W Main St
        Number              Street
                                                                         As of the date you file, the claim is: Check all that apply.
                                                                         ❑ Contingent
         Luray, VA 22835-1230
                                                                         ❑ Unliquidated
        City                      State                   ZIP Code
                                                                         ❑ Disputed
        Who incurred the debt? Check one.
                                                                         Type of NONPRIORITY unsecured claim:
        ✔ Debtor 1 only
        ❑
                                                                         ❑ Student loans
        ❑ Debtor 2 only
                                                                         ❑ Obligations arising out of a separation agreement or divorce that you did not report as
        ❑ Debtor 1 and Debtor 2 only                                         priority claims
        ❑ At least one of the debtors and another                        ❑ Debts to pension or profit-sharing plans, and other similar debts
        ❑ Check if this claim is for a community debt                    ✔ Other. Specify
                                                                         ❑
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
        Remarks: Commercial Loan
  4.2 CAPITAL ONE                                                        Last 4 digits of account number          1    9    3     4                              $392.00
        Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                  3/27/2019
         PO BOX 31293
        Number              Street
                                                                         As of the date you file, the claim is: Check all that apply.

         SALT LAKE CITY, UT 84131
                                                                         ❑ Contingent
        City                      State                   ZIP Code
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑
                                                                         Type of NONPRIORITY unsecured claim:

        ❑ Debtor 2 only                                                  ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
        ❑ At least one of the debtors and another                        ❑ Debts to pension or profit-sharing plans, and other similar debts
        ✔ Check if this claim is for a community debt
        ❑                                                                ✔ Other. Specify CreditCard
                                                                         ❑
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2 of 15
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Debtor 1        Tameia                  M.                  Frank                           Case number (if known) 24-33165
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.3 CONN APPLIANCES INC                                        Last 4 digits of account number         2    7   7      0                       $1,422.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/28/2019
       1401 RANKIN RD STE 300
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       HOUSTON, TX 77073                                         ❑ Contingent
                                                                 ❑ Unliquidated
                                                                 ✔ Disputed
      City                    State                   ZIP Code
                                                                 ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 CREDIT ONE BANK                                            Last 4 digits of account number         6    1   6      5                         $569.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  8/7/2020
       6801 S. CIMARRON ROAD
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       LAS VEGAS, NV 89113
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3 of 15
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Debtor 1        Tameia                  M.                   Frank                           Case number (if known) 24-33165
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.5 DEPT OF EDUCATION/NELN                                     Last 4 digits of account number         0    9   7     3                        $48,293.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 7/5/2016
      121 S 13TH ST
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      LINCOLN, NE 68508                                          ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 FIRST PREMIER                                              Last 4 digits of account number         1    9   3     4                           $335.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/16/2017
      3820 N LOUISE AVE
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      SIOUX FALLS, SD 57107
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 15
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Debtor 1        Tameia                  M.                  Frank                           Case number (if known) 24-33165
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.7 Fundersapp.com                                             Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       3323 Ne 163rd St Ste 401
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       N Miami Beach, FL 33160-5596
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                 ❑ Student loans
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ✔ At least one of the debtors and another
      ❑                                                          ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.8 Funding Metrics, LLC                                       Last 4 digits of account number                                                 $8,830.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                6/12/2023
       Quick Fix Capital
       3220 Tillman Dr
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Bensalem, PA 19020-2050
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code   ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                 ❑ Student loans
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: Business Debt




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Debtor 1        Tameia                  M.                  Frank                           Case number (if known) 24-33165
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.9 Jaris Funding LLC                                          Last 4 digits of account number                                                 unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       345 Lorton Ave
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Burlingame, CA 94010                                      ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: For Notice Purposes
 4.10 JEFFERSON CAPITAL SY                                       Last 4 digits of account number         6    7   4    3                         $3,631.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/22/2023
       200 14TH AVENUE EAST
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SARTELL, MN 56377
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify FactoringCompanyAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Tameia                  M.                  Frank                           Case number (if known) 24-33165
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.11 JEFFERSON CAPITAL SYST                                     Last 4 digits of account number        X    X    X    X                         $3,631.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                6/22/2023
       16 MCLELAND RD
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       SAINT CLOUD, MN 56303
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify FactoringCompanyAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.12 KIKOFF LENDING LLC                                         Last 4 digits of account number        T    K    2    F                           $200.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                3/20/2024
       PO BOX 40070
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       RENO, NV 89504
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Tameia                  M.                  Frank                           Case number (if known) 24-33165
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.13 LVNV FUNDING                                               Last 4 digits of account number         5    5   5    5                           $564.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/28/2023
       C/O RESURGENT CAPITAL SERVICES
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       GREENVILLE, SC 29602                                      ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.14 MERRICK BANK CORP                                          Last 4 digits of account number         5    9   2    9                         $1,379.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 8/16/2021
       PO BOX 9201
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       OLD BETHPAGE, NY 11804
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Tameia                  M.                  Frank                           Case number (if known) 24-33165
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.15 MIDLAND CREDIT MANAGEM                                     Last 4 digits of account number         8    5   4    2                           $728.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 3/28/2023
       320 E BIG BEAVER RD STE
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       TROY, MI 48083
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify FactoringCompanyAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.16 MIDLAND CREDIT MANAGEM                                     Last 4 digits of account number         5    9   2    2                           $689.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 4/27/2023
       320 E BIG BEAVER RD STE
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       TROY, MI 48083
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify FactoringCompanyAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Tameia                  M.                  Frank                           Case number (if known) 24-33165
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.17 US DEPARTMENT OF EDU                                       Last 4 digits of account number         3    1   9    4                              $4.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/22/2013
       PO BOX 5609
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       GREENVILLE, TX 75403                                      ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.18 US DEPARTMENT OF EDU                                       Last 4 digits of account number         1    2   5    6                              $3.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/22/2013
       PO BOX 5609
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       GREENVILLE, TX 75403                                      ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Tameia                  M.                  Frank                           Case number (if known) 24-33165
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.19 US DEPARTMENT OF EDU                                       Last 4 digits of account number         3    1   8    5                              $2.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/22/2013
       PO BOX 5609
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       GREENVILLE, TX 75403                                      ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.20 US DEPARTMENT OF EDU                                       Last 4 digits of account number         3    6   4    1                              $2.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/22/2013
       PO BOX 5609
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       GREENVILLE, TX 75403                                      ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Tameia                  M.                  Frank                           Case number (if known) 24-33165
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.21 US DEPARTMENT OF EDU                                       Last 4 digits of account number         4    3   9    6                              $2.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/22/2013
       PO BOX 5609
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       GREENVILLE, TX 75403                                      ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.22 US DEPARTMENT OF EDU                                       Last 4 digits of account number         3    6   3    5                              $1.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/22/2013
       PO BOX 5609
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       GREENVILLE, TX 75403                                      ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Tameia                  M.                  Frank                           Case number (if known) 24-33165
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.23 US DEPARTMENT OF EDU                                       Last 4 digits of account number         4    4   0    1                              $1.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/22/2013
       PO BOX 5609
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       GREENVILLE, TX 75403                                      ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.24 WAKEFIELD & ASSOCIATES                                     Last 4 digits of account number         6    4   7    0                         $2,018.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/18/2023
       7005 MIDDLEBROOK PIKE
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       KNOXVILLE, TN 37909
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CollectionAttorney
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Tameia                M.                     Frank                           Case number (if known) 24-33165
               First Name             Middle Name           Last Name


   Part 3:      List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. Nicholas J. Zabala, Law Office LLC                            On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.8 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     P.O. Box 1359                                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    Number         Street
                                                                  Last 4 digits of account number

     Bensalem, PA 19020
    City                         State          ZIP Code




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Debtor 1          Tameia                  M.                     Frank                       Case number (if known) 24-33165
                  First Name             Middle Name            Last Name


      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.    Domestic support obligations                                6a.                           $0.00
 from Part 1
                   6b.    Taxes and certain other debts you owe the government        6b.                     $170,100.00

                   6c.    Claims for death or personal injury while you were          6c.                           $0.00
                          intoxicated

                   6d.    Other. Add all other priority unsecured claims.             6d.   +                       $0.00
                          Write that amount here.

                   6e.    Total. Add lines 6a through 6d.                             6e.
                                                                                                           $170,100.00



                                                                                                Total claim

 Total claims      6f.    Student loans                                               6f.                      $48,308.00
 from Part 2
                   6g.    Obligations arising out of a separation agreement or        6g.                           $0.00
                          divorce that you did not report as priority claims

                   6h.    Debts to pension or profit-sharing plans, and other         6h.                           $0.00
                          similar debts

                   6i.    Other. Add all other nonpriority unsecured claims.          6i.   +                  $44,688.00
                          Write that amount here.

                   6j.    Total. Add lines 6f through 6i.                             6j.
                                                                                                              $92,996.00




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                    page 15 of 15
                                    Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 35 of 65

 Fill in this information to identify your case:

     Debtor 1                       Tameia               M.                  Frank
                                    First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                           Southern District of Texas

     Case number                            24-33165                                                                                     ❑ Check if this is an
     (if known)                                                                                                                              amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for

2.1                                                                                             Apartment Lease (since 2018; renewed 04/2024 and
         Lynd Company                                                                           terminates 4/2025)
        Name                                                                                    Contract to be ASSUMED
         2625 Harmony Park Crossing
        Number             Street
         Spring, TX 77386
        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of 1
                          Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 36 of 65
 Fill in this information to identify your case:

  Debtor 1             Tameia                 M.                      Frank
                      First Name             Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                  Southern           District of        Texas

  Case number         24-33165
  (if known)                                                                                                                                ❑ Check if this is an
                                                                                                                                                amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
               ❑ No
               ✔ Yes. In which community state or territory did you live?
               ❑                                                                       Texas              . Fill in the name and current address of that person.

                   Byron Jones
                   Name of your spouse, former spouse, or legal equivalent
                   2625 Harmony Park Crossing Apt 1428
                   Number                 Street
                   Spring, TX 77386
                   City                            State                          ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                          Column 2: The creditor to whom you owe the debt

                                                                                                         Check all schedules that apply:
 3.1    Sweets with L and L Treats
        Name                                                                                             ❑ Schedule D, line
        Post Houston                                                                                     ✔ Schedule E/F, line
                                                                                                         ❑                            4.7

        401 Franklin St                                                                                  ❑ Schedule G, line
        Number                          Street
        Houston, TX 77002
        City                                       State                                     ZIP Code

 3.2
        Name                                                                                             ❑ Schedule D, line
                                                                                                         ❑ Schedule E/F, line
        Number                          Street
                                                                                                         ❑ Schedule G, line
        City                                       State                                     ZIP Code




Official Form 106H                                                      Schedule H: Codebtors                                                           page 1 of 1
                           Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 37 of 65

 Fill in this information to identify your case:

  Debtor 1                  Tameia                 M.                  Frank
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name                                            Check if this is:

                                                                 Southern District of Texas
                                                                                                                           ❑ An amended filing
                                                                                                                           ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                       24-33165                                                                                  chapter 13 income as of the following date:
  (if known)

                                                                                                                              MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                         Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status                       ✔ Not Employed
                                                                          ❑ Employed ❑                                                 ✔ Not Employed
                                                                                                                            ❑ Employed ❑
     attach a separate page with
     information about additional            Occupation
     employers.
                                             Employer's name
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address
     Occupation may include student                                        Number Street                                     Number Street
     or homemaker, if it applies.




                                                                           City                     State   Zip Code         City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1   For Debtor 2 or
                                                                                                                       non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.                $0.00                     $0.00

 3. Estimate and list monthly overtime pay.                                                3.   +            $0.00     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.                $0.00                     $0.00




Official Form 106I                                                         Schedule I: Your Income                                                              page 1
                                 Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 38 of 65

 Debtor 1                 Tameia                       M.                              Frank                                         Case number (if known) 24-33165
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.               $0.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.              $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.              $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.              $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h.   +          $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.               $0.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.               $0.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.          ($437.50)                    $0.00
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                      8h.   +          $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.           ($437.50)                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          ($437.50)     +               $0.00         =         ($437.50)

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.             ($437.50)
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                           Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 39 of 65

 Debtor 1              Tameia           M.                    Frank                                  Case number (if known) 24-33165
                       First Name       Middle Name           Last Name


   8a. Attached Statement
                                                                  Business Income
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                                      $16,838.89
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Ordinary and necessary expense                                                                             $0.00
       3.   Net Employee Payroll (Other than debtor)                                                                   $0.00
       4.   Payroll Taxes                                                                                              $0.00
       5.   Unemployment Taxes                                                                                         $0.00
       6.   Worker's Compensation                                                                                      $0.00
       7.   Other Taxes                                                                                                $0.00
       8.   Inventory Purchases (Including raw materials)                                                              $0.00
       9.   Purchase of Feed/Fertilizer/Seed/Spray                                                                     $0.00
       10. Rent (Other than debtor's principal residence)                                                              $0.00
       11. Utilities                                                                                                   $0.00
       12. Office Expenses and Supplies                                                                                $0.00
       13. Repairs and Maintenance                                                                                     $0.00
       14. Vehicle Expenses                                                                                            $0.00
       15. Travel and Entertainment                                                                                    $0.00
       16. Equipment Rental and Leases                                                                                 $0.00
       17. Legal/Accounting/Other Professional Fees                                                                    $0.00
       18. Insurance                                                                                                   $0.00
       19. Employee Benefits (e.g., pension, medical, etc.)                                                            $0.00
       20. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
           Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                        $0.00

       21. Other Expenses
            Expenditures                                                                        $17,276.39
            TOTAL OTHER EXPENSES                                                                                  $17,276.39
                                                                                                                                       $17,276.39
       22. TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       23. AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                                     ($437.50)




Official Form 106I                                                    Schedule I: Your Income                                                page 3
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 Fill in this information to identify your case:

  Debtor 1                  Tameia                  M.                   Frank
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Southern District of Texas
                                                                                                                      MM / DD / YYYY
  Case number                       24-33165
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Spouse                                                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               10                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               7                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                $2,450.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                      4a.                     $0.00
     4b. Property, homeowner's, or renter's insurance                                                                           4b.                     $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                          4c.                     $0.00
     4d. Homeowner's association or condominium dues                                                                            4d.                     $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1            Tameia                 M.                   Frank                                       Case number (if known) 24-33165
                     First Name             Middle Name          Last Name


                                                                                                                            Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                 5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                         6a.                  $200.00
       6b. Water, sewer, garbage collection                                                                       6b.                       $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.                  $277.00

       6d. Other. Specify:                                                                                        6d.                       $0.00
 7.    Food and housekeeping supplies                                                                             7.                   $650.00

 8.    Childcare and children’s education costs                                                                   8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                        9.                   $150.00

 10. Personal care products and services                                                                          10.                    $17.00

 11.   Medical and dental expenses                                                                                11.                    $35.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                 12.                  $400.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.                    $50.00

 14. Charitable contributions and religious donations                                                             14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                        15a.                 $180.00
       15b. Health insurance                                                                                      15b.                      $0.00
       15c. Vehicle insurance                                                                                     15c.                 $140.00

       15d. Other insurance. Specify:                                                                             15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                   16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1 2014 Ford F-150 Truck                                                      17a.                 $604.00
       17b. Car payments for Vehicle 2                                                                            17b.                      $0.00
       17c. Other. Specify:                                                                                       17c.                      $0.00
       17d. Other. Specify:                                                                                       17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                   19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                           20a.                      $0.00
       20b. Real estate taxes                                                                                     20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                          20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                              20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                           20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                               page 2
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 Debtor 1            Tameia              M.                    Frank                                        Case number (if known) 24-33165
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                             21.    +                $0.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                               22a.                 $5,153.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.                     $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.                 $5,153.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                          23a.                 ($437.50)

      23b. Copy your monthly expenses from line 22c above.                                                       23b.       –         $5,153.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                               23c.               ($5,590.50)



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
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 Debtor 1            Tameia              M.                     Frank                               Case number (if known) 24-33165
                     First Name          Middle Name            Last Name




                                                                                                                                      Amount


   6c. Telephone, cell phone, Internet, satellite, and cable services
       Internet & TV Services                                                                                                          $77.00
       Phone                                                                                                                          $200.00




Official Form 106J                                                      Schedule J: Your Expenses                                         page 4
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 Fill in this information to identify your case:

  Debtor 1                      Tameia                      M.                       Frank
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                   Southern District of Texas

  Case number                              24-33165                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                             $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $24,172.52

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                      $24,172.52



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                               $66,771.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                 $170,100.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +            $92,996.00

                                                                                                                                                  Your total liabilities                  $329,867.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    ($437.50)


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $5,153.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
                         Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 45 of 65

Debtor 1            Tameia                M.                     Frank                                             Case number (if known) 24-33165
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ❑ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
   ❑
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                         page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  Tameia                 M.                  Frank
                            First Name             Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                       24-33165                                                                                       ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                       Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Tameia M. Frank
        Tameia M. Frank, Debtor 1


        Date 08/13/2024
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                           Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 47 of 65

 Fill in this information to identify your case:

  Debtor 1                  Tameia                 M.                  Frank
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                       24-33165                                                                                         ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
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Debtor 1            Tameia            M.                     Frank                                           Case number (if known) 24-33165
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
                                               ❑ Wages, commissions,                                   ❑ Wages, commissions,
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ❑ Operating a business                                  ❑ Operating a business

    For last calendar year:                    ❑ Wages, commissions,                                   ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2023        )
                                   YYYY        ✔ Operating a business
                                               ❑                                    $19,691.00         ❑ Operating a business

    For the calendar year before that:         ❑ Wages, commissions,                                   ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2022        )
                                   YYYY        ✔ Operating a business
                                               ❑                                    $27,753.00         ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the    Stmt Fin Aff #4                     $100,895.30
    date you filed for bankruptcy:              YTD Business
                                                Income and Exp:
                                                Revenue
                                                $100,895.30 less
                                                Exp $103,382.30 |
                                                Net Business
                                                Loss: ($2,487)


    For last calendar year:
    (January 1 to December 31, 2023        )
                                   YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
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Debtor 1            Tameia                  M.                    Frank                                          Case number (if known) 24-33165
                    First Name              Middle Name           Last Name


    For the calendar year before that:
    (January 1 to December 31, 2022              )
                                     YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
              ❑
                           paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                           not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                           include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                           an attorney for this bankruptcy case.

                                                             Dates of           Total amount paid         Amount you still owe      Was this payment for…
                                                             payment

             Lynd Company                                    6/1/2024                    $7,800.00                               ❑ Mortgage
             Creditor's Name
                                                                                                                                 ❑ Car
                                                             5/1/2024
                                                                                                                                 ❑ Credit card
             2625 Harmony Park Crossing
             Number      Street
                                                             4/1/2024                                                            ❑ Loan repayment
             Spring, TX 77386
             City                   State        ZIP Code                                                                        ❑ Suppliers or vendors
                                                                                                                                           Residential
                                                                                                                                 ✔ Other Lease
                                                                                                                                 ❑

             JPMCB Auto Finance                              6/24/2024                   $1,812.00                $15,828.00     ❑ Mortgage
             Creditor's Name
                                                                                                                                 ✔ Car
                                                                                                                                 ❑
                                                             5/24/2024
                                                                                                                                 ❑ Credit card
             PO Box 901003
             Number      Street
                                                             4/24/2024                                                           ❑ Loan repayment
             Fort Worth, TX 76101-0000
             City                   State        ZIP Code                                                                        ❑ Suppliers or vendors
                                                                                                                                 ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
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Debtor 1             Tameia                M.                     Frank                                           Case number (if known) 24-33165
                     First Name            Middle Name            Last Name

                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe



    Insider's Name


    Number       Street




    City                          State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                      Court or agency                                  Status of the case

                                                     Private Arbitration before
    Case title        Funding Metrics,
                                                     Judge Herron (Ret.) d/b/a              Arbitration                                     ❑ Pending
                      LLC vs. Tameia
                      Marie Frank d/b/a              Herron Mediation, LLC                  Court Name
                                                                                                                                            ❑ On appeal
                      Sweets with L&L                                                                                                       ✔ Concluded
                                                                                                                                            ❑
                                                                                            Number       Street

    Case number
                                                                                            City                      State     ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4
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Debtor 1            Tameia                 M.                       Frank                                          Case number (if known) 24-33165
                    First Name             Middle Name              Last Name

                                                       Nature of the case                     Court or agency                             Status of the case

    Case title        Jaris Funding, LLC                                                     Add Court                                   ✔ Pending
                                                                                                                                         ❑
                      vs. Sweets with L&L,
                      et. al
                                                                                             Court Name
                                                                                                                                         ❑ On appeal
                                                                                             Number       Street
                                                                                                                                         ❑ Concluded
    Case number

                                                                                             City                    State   ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                     Describe the property                               Date              Value of the property



    Creditor’s Name



    Number       Street                                              Explain what happened

                                                                    ❑ Property was repossessed.
                                                                    ❑ Property was foreclosed.
                                                                    ❑ Property was garnished.
    City                           State    ZIP Code                ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                             Describe the action the creditor took                     Date action was   Amount
                                                                                                                       taken
    Creditor’s Name



    Number       Street



    City                          State    ZIP Code
                                                            Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1             Tameia                 M.                   Frank                                          Case number (if known) 24-33165
                     First Name             Middle Name          Last Name
 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave     Value
     per person                                                                                                     the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                           Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1            Tameia              M.                   Frank                                          Case number (if known) 24-33165
                    First Name          Middle Name          Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred            Date payment or        Amount of payment
    Resolve Law Group                                                                                      transfer was made
    Person Who Was Paid                       Attorney’s Fee
                                                                                                           7/3/2024                          $363.00
    801 Travis Street Suite 2101
    Number     Street




    Houston, TX 77002
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7
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Debtor 1            Tameia               M.                   Frank                                          Case number (if known) 24-33165
                    First Name           Middle Name          Last Name

                                               Description and value of property         Describe any property or payments               Date transfer was
                                               transferred                               received or debts paid in exchange              made

    Person Who Received Transfer



    Number      Street




    City                   State    ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                         Date transfer was
                                                                                                                                         made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                      instrument               closed, sold, moved, or    before closing or
                                                                                                               transferred                transfer
    Truist Bank
                                                                                                                04/2024                           $0.00
    Name of Financial Institution
                                                XXXX–                               ✔ Checking
                                                                                    ❑
                                                                                    ❑ Savings
    Number      Street                                                              ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
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Debtor 1            Tameia               M.                   Frank                                          Case number (if known) 24-33165
                    First Name           Middle Name          Last Name

                                                 Who else had access to it?                  Describe the contents                    Do you still have
                                                                                                                                      it?

                                                                                                                                     ❑ No
    Name of Financial Institution               Name
                                                                                                                                     ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else has or had access to it?           Describe the contents                    Do you still have
                                                                                                                                      it?

                                                                                                                                     ❑ No
    Name of Storage Facility                    Name
                                                                                                                                     ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                   State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Where is the property?                      Describe the property                    Value



    Owner's Name
                                                Number    Street



    Number      Street

                                                City                 State   ZIP Code



    City                   State    ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 9
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Debtor 1            Tameia              M.                    Frank                                            Case number (if known) 24-33165
                    First Name          Middle Name            Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                        Environmental law, if you know it                   Date of notice



    Name of site                              Governmental unit



    Number     Street                         Number     Street



                                              City                State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                        Environmental law, if you know it                   Date of notice



    Name of site                              Governmental unit



    Number     Street                         Number     Street



                                              City                State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 10
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Debtor 1            Tameia                M.                        Frank                                            Case number (if known) 24-33165
                    First Name            Middle Name               Last Name

                                                   Court or agency                          Nature of the case                                Status of the case



    Case title                                                                                                                               ❑ Pending
                                                                                                                                             ❑ On appeal
                                                  Court Name


                                                                                                                                             ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ✔ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Sweets with L and L                                                                                      Do not include Social Security number or ITIN.
    Name
                                                   Cotton Candy Stand in Food Court
                                                                                                              EIN:          –
    Post Houston

    401 Franklin St                                 Name of accountant or bookkeeper                         Dates business existed
    Number        Street
                                                   Tim Frank (Debtor's brother), Integrity Tax
                                                                                                              From 2017            To 10/2023
                                                   Bookkeeping Services, Austin, TX
    Houston, TX 77002-1569
    City                    State   ZIP Code

                                                    Describe the nature of the business                      Employer Identification number
    Sweets with L and L Treats                                                                               Do not include Social Security number or ITIN.
    Name
                                                   Cotton Candy Stand in Food Court
                                                                                                              EIN:          –
    Post Houston

    401 Franklin St                                 Name of accountant or bookkeeper                         Dates business existed
    Number        Street
                                                   Tim Frank (Debtor's brother), Integrity Tax
                                                                                                              From 10/2023         To 04/2024
                                                   Bookkeeping Services, Austin, TX
    Houston, TX 77002
    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 11
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Debtor 1            Tameia              M.                      Frank                                        Case number (if known) 24-33165
                    First Name          Middle Name             Last Name

                                                Describe the nature of the business                  Employer Identification number
     Sweet Treats with L and L LLC                                                                   Do not include Social Security number or ITIN.
     dba Sweets with L&L Cotton                Cotton Candy Stand in Food Court
     Candy                                                                                            EIN:   9   9 – 2    7     1   6   4   1   9
    Name


     Post Houston                               Name of accountant or bookkeeper                     Dates business existed

     401 Franklin St                                                                                  From 5/2024          To
    Number     Street


     Houston, TX 77002
    City                   State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                Date issued



    Name                                       MM / DD / YYYY



    Number     Street




    City                   State   ZIP Code




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 12
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 Debtor 1           Tameia              M.                    Frank                                         Case number (if known) 24-33165
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Tameia M. Frank
        Signature of Tameia M. Frank, Debtor 1


        Date 08/13/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 13
                              Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 60 of 65
 Fill in this information to identify your case:

  Debtor 1                     Tameia                 M.                  Frank
                               First Name             Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)          First Name             Middle Name        Last Name

  United States Bankruptcy Court for the:                           Southern District of Texas

  Case number
  (if known)
                                       24-33165                                                                   ❑ Check if this is an amended filing

Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                           12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are exempted from a
presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the exclusions in this statement applies
to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).



 Part 1: Identify the Kind of Debts You Have

        1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal,
           family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition (Official Form
           101).
           ✔ No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
           ❑
                        this supplement with the signed Form 122A-1.
           ❑ Yes. Go to Part 2.

 Part 2: Determine Whether Military Service Provisions Apply to You

        2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           ❑ No. Go to line 3.
           ❑ Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                        10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                        ❑ No. Go to line 3.
                        ❑ Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part
                                  3. Then submit this supplement with the signed Form 122A-1.


        3. Are you or have you been a Reservist or member of the National Guard?
           ❑ No. Complete Form 122A-1. Do not submit this supplement.
           ❑ Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
             ❑ No. Complete Form 122A-1. Do not submit this supplement.
             ❑ Yes. Check any one of the following categories that applies:
                ❑ I was called to active duty after September 11, 2001, for at least 90 days          If you checked one of the categories to the left, go to
                         and remain on active duty.                                                      Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                                         check box 3, The Means Test does not apply now, and
                   ❑ I was called to active duty after September 11, 2001, for at least 90 days          sign Part 3. Then submit this supplement with the signed
                                                                                                         Form 122A-1. You are not required to fill out the rest of
                         and was released from active duty on                        , which is fewer
                                                                                                         Official Form 122A-1 during the exclusion period. The
                         than 540 days before I file this bankruptcy case.
                                                                                                         exclusion period means the time you are on active duty or
                   ❑ I am performing a homeland defense activity for at least 90 days.                   are performing a homeland defense activity, and for 540
                                                                                                         days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                   ❑ I performed a homeland defense activity for at least 90 days, ending on
                                            , which is fewer than 540 days before I file this            If your exclusion period ends before your case is closed,
                         bankruptcy case.                                                                you may have to file an amended form later




 Official Form 122A-1Supp                      Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                            page 1
                           Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 61 of 65
 Fill in this information to identify your case:                                                              Check one box only as directed in this form and in
                                                                                                              Form 122A-1Supp:
  Debtor 1                  Tameia                 M.                   Frank                                 ✔ 1. There is no presumption of abuse.
                                                                                                              ❑
                           First Name              Middle Name          Last Name
                                                                                                              ❑ 2. The calculation to determine if a presumption
  Debtor 2
                                                                                                                 of abuse applies will be made under Chapter 7
  (Spouse, if filing)      First Name              Middle Name          Last Name                                Means Test Calculation (Official Form 122A-2).

  United States Bankruptcy Court for the:                        Southern District of Texas                   ❑ 3. The Means Test does not apply now because
                                                                                                                 of qualified military service but it could apply later.
  Case number                       24-33165
  (if known)                                                                                                  ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                               12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                          Column A             Column B
                                                                                                          Debtor 1             Debtor 2 or
                                                                                                                               non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.
 5. Net income from operating a business, profession,
                                                                        Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                      -               -
                                                                                                   Copy
     Net monthly income from a business, profession, or farm                                       here
                                                                                                   →

 6. Net income from rental and other real property                      Debtor 1        Debtor 2
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                      -               -
                                                                                                   Copy
     Net monthly income from rental or other real property                                         here
                                                                                                   →

 7. Interest, dividends, and royalties

 Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                             page 1
                                  Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 62 of 65
Debtor 1                   Tameia                         M.                                Frank                                         Case number (if known) 24-33165
                           First Name                     Middle Name                       Last Name
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                                         +                        =
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                        Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →

            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.

    Fill in the median family income for your state and size of household.................................................................................................... 13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

    14a. ❑ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
           Go to Part 3.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                        page 2
                        Case 24-33165 Document 17 Filed in TXSB on 08/13/24 Page 63 of 65
Debtor 1           Tameia                M.                      Frank                                        Case number (if known) 24-33165
                   First Name            Middle Name              Last Name

Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Tameia M. Frank
       Signature of Debtor 1

       Date 08/13/2024
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                                 page 3
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 Fill in this information to identify your case:

  Debtor 1                  Tameia                 M.                  Frank
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                       24-33165                                                                                      ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures Did you claim the property as
                                                                           a debt?                                                 exempt on Schedule C?

    Creditor’s                                                             ✔ Surrender the property.
                                                                           ❑                                                        ✔ No
                                                                                                                                    ❑
    name:               MERCEDES BENZ FINANCIA
                                                                           ❑ Retain the property and redeem it.                     ❑ Yes
    Description of
    property
                        2017 Mercedes-Benz GLE 450
                        Vehicle was totaled in an auto accident on
                                                                           ❑ Retain the property and enter into a
    securing debt:      07/28/2024                                                Reaffirmation Agreement.
                                                                           ❑ Retain the property and [explain]:

    Creditor’s                                                             ❑ Surrender the property.                                ✔ No
                                                                                                                                    ❑
    name:               JPMCB - AUTO FINANCE
                                                                           ❑ Retain the property and redeem it.                     ❑ Yes
    Description of
    property
                        2014 Ford F-150 Truck
                                                                           ✔ Retain the property and enter into a
                                                                           ❑
    securing debt:                                                                Reaffirmation Agreement.
                                                                           ❑ Retain the property and [explain]:




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                        page 1
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 Debtor 1            Tameia                M.                    Frank                                       Case number (if known) 24-33165
                     First Name             Middle Name          Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                         Will the lease be assumed?
    Lessor’s name:                Lynd Company                                                                                ❑ No
                                                                                                                              ✔ Yes
                                                                                                                              ❑
    Description of leased
    property:                     Apartment Lease (since 2018; renewed 04/2024 and terminates 4/2025)

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Tameia M. Frank
      Signature of Debtor 1


      Date 08/13/2024
            MM/ DD/ YYYY




Official Form 108                                   Statement of Intention for Individuals Filing Under Chapter 7                                        page 2
